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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 COMMITTEE ON WAYS AND MEANS,                   )
 UNITED STATES HOUSE OF                         )
 REPRESENTATIVES,                               )
               Plaintiff–Counterdefendant,      )
                                                )
                v.                              )
 UNITED STATES DEPARTMENT OF                    )
 THE TREASURY; INTERNAL REVENUE                 )       No. 1:19-cv-1974-TNM
 SERVICE; JANET YELLEN, in her official         )
 capacity as Secretary of the United States     )
 Department of the Treasury; and CHARLES P. )
 RETTIG, in his official capacity as            )
 Commissioner of the Internal Revenue Service, )
                    Defendants–Crossdefendants, )
                                                )
 and                                            )
                                                )
 DONALD J. TRUMP; THE DONALD J.                 )
 TRUMP REVOCABLE TRUST; DJT                     )
 HOLDINGS LLC; DJT HOLDINGS                     )
 MANAGING MEMBER LLC; DTTM                      )
 OPERATIONS LLC; DTTM OPERATIONS                )
 MANAGING MEMBER CORP.; LFB                     )
 ACQUISITION MEMBER CORP.; LFB                  )
 ACQUISITION LLC; and LAMINGTON                 )
 FARM CLUB, LLC d/b/a TRUMP                     )
 NATIONAL GOLF CLUB-BEDMINSTER                  )
                 Intervenors–Counterclaimants– )
                               Crossclaimants.

                   NOTICE OF APPEARANCE FOR SETH P. WAXMAN

To the Clerk of this Court and all parties of record:

       PLEASE TAKE NOTICE that the undersigned will now appear in this action on behalf

of Plaintiff-Counterdefendant, Committee on Ways and Means.
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      The undersigned hereby certifies that he is admitted to practice in this Court.

Dated: August 5, 2021                              Respectfully submitted,

                                                    /s/ Seth P. Waxman
                                                    Seth P. Waxman (D.C. Bar No. 257337)
                                                    WILMER CUTLER PICKERING HALE AND
                                                    DORR LLP
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                                                    Counsel for Plaintiff-Counterdefendant,
                                                    Committee on Ways and Means




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